                  Case 2:22-cv-01365-TSZ Document 6 Filed 10/13/22 Page 1 of 2




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                                                                             HON. THOMAS S. ZILLY
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 6
 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE
 9   DISPLAY TECHNOLOGIES, LLC,
10                                                          No.: 2:22-cv-01365-TSZ
                      Plaintiff,
11                                                          NOTICE OF VOLUNTARY DISMISSAL
             v.                                             WITHOUT PREJUDICE
12
     VALVE CORPORATION,
13
14                    Defendant.                            JURY TRIAL DEMANDED

15
             Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Notice of
16
17   Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).
18   According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of
19
     court by filing a notice of dismissal at any time before service by the adverse party of an answer.
20
21   Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Valve

22   Corporation (“Defendant” and/or “Valve”) without prejudice, pursuant to Rule 41(a)(1)(A)(i) with
23
     each party to bear its own fees and costs.
24
25           DATED: October 13, 2022.

26                                                           MEYLER LEGAL, PLLC
27
28                                                            /S/ SAMUEL M. MEYLER
                                                             SAMUEL M. MEYLER, WSBA #39471
29
                                                             1700 Westlake Ave. N., Ste. 200
30                                                           Seattle, WA 98109

      NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE - 1                    MEYLER LEGAL, PLLC
      (Case No. 2:22-cv-01365)                                          1700 WESTLAKE AVE. N., STE 200
                                                                         SEATTLE, WASHINGTON 98109
                                                                      TEL: (206) 876-7770  FAX: (206) 876-7771
                Case 2:22-cv-01365-TSZ Document 6 Filed 10/13/22 Page 2 of 2




                                                            Tel: 206-876-7770
 1
                                                            Fax: 206-876-7771
 2                                                          E-mail: samuel@meylerlegal.com
                                                            Counsel for Plaintiff Display Technologies,
 3
                                                            LLC
 4
                                     CERTIFICATE OF SERVICE
 5
 6            I hereby certify that on October 13, 2022, I electronically transmitted the foregoing
     document using the CM/ECF system for filing, which will transmit the document electronically
 7   to all registered participants as identified on the Notice of Electronic Filing, and paper copies
 8   have been served on those indicated as non-registered participants.
 9                                                           /S/ SAMUEL M. MEYLER
10                                                          SAMUEL M. MEYLER, WSBA #39471
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      NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE - 2                    MEYLER LEGAL, PLLC
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